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EXHIBITS Cl — C5

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MISSING PERSON REPORT

OB09/90-O99

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| PHONE NO. 979-5" 990 TIME L600 has DATE 3/13/08 CONDITION falpdy
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PHONE NO. 974-$990 WORK NO.898-5577 RELATIONSHIP /4-Hz

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DATE LOCATED PLACE LOCATED CONDITION

TTY CANCELLATION-CT.MSG.NO. . OCA DT.CANC.

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HISSING PERSON REPORT

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ADDRESS 42 Sherman

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~ MISSING PERSON REPORT JL5

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DATE CASE CLOSED REFER TO

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Case 3:14-cr-00160-JBA Document 107-3 Filed 02/26/16 Page 5 of 11
a , MISSING PERSON REPORT

“INCIDENT NO. HoT Oooo [INVESTIGATOR Kilcovae PHOTO YES NO ><
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avpness 442. Shevwrau ST and £L~ HOME #27Y- S939 _wORKE
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& ' MISSING PERSON REPORT ° |
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Case 3:14-cr-00160-JBA Document 107-3 Filed 02/26/16 Page 7 of 11

EXHIBITS D1 — D2

Page 1 of 2

‘ Case 3:14-cr-00160-JBA Gbheenwich Rolice Depalimernts Page 8 of 11
11 Bruce Place, Greenwich CT 06830
(203) 622-8000 SUPPLEMENTARY | |
CASE/INCIDENT REPORT
Report # 1100039150 - 00057326

CFS NO. DAYT INCIDENT DATE | TIME | DATE OF RPT [TIME OF RPT] TYPE OF INCIDENT NCIDENT GD INVESTIGATING OFFICER [BADGE NO

4100039150 4 |_ 08312011 | 04:01 | ggi342011 05:10  |MISSING PERSON 370 ~—« Patrol Officer 3241

Thr 08/31/2011 Mutham, Emest P.

DIVISION DIVISION NO. EFERENCE DIVISION REFERENCE DIVISION NOJCASE XREPERENCE | UNITID TYPIST {DATE TYPED | TIME TYPEG}

M46 MULHERN | 08/31/2011 | 05:10

TREET NO. STREET NAME AND TYPE APARTMENT NO/LOCATI NTERSECTING STREET NAME AND TYPE STATUS TOWN CD
00078 | Oak Ridge St Greenwich 057

STATUS CODE C=COMPLAINANT V=VICTIM AZ=ARRESTEE JUVENILE HEOTHER M=eMISSING WAWITNESS _O=OFFENDER _D=DRIVER = USPECT PaPOLICE OFFICER TaTOT

JSEXTRAGED D.0.8. : ADDRESS? Se. x OP STATE'S. NOW =: |
[ iF {is “ aarare0 | Cel (308) 765 = 1638 [00078 OAK RIDGE St GREENWICH CT ICT 148020190
[ M __[OUME, SHEENAJ TF} B I 10161892 | Hom | (203) 769-1638 [78 Oak Ridge St Greanwich CT ] :
L [Tt ] [Gel | (203) 587-0147 [| 3
H | Shamey iF{ B | [ Cel | (203) 424-6905 | icT
iH Ron [u[ ou | Cel | (203) $56 - 2299 ||

Detailed to #78 Oak Ridge Street on the report of a missing female.

Upon arrival, | met with Marie Dume. Dume appeared very upset and worried. She related that her 18 year old daughter, Sheena, had left the
residence at 10 p.m. the previous evening and had not retumed. That Sheena will usually answer the phone when called. That she is not

answering the phone this morning, nor returning calls.

Marie Dume further related that she is very concemed due to having a conversation with a male subject on the telephone. That the male subject
called the residence last night looking to speak to Sheena. That when asked who was calling, the male subject became agitated and demanded to
speak to Sheena. That the conversation became very hostile and the subject told her that he would kill her after he killed her daughter. That the
number called from was {203) 556-2299. A voicemail was left requesting the owner contact this department.

| called Sheena’s T-Mobile cell phone (203) 587-0147 and left a voicemail message. The phone rang several times, an indication that it was
powered on.

Marie Dume related that she spoke to Sheena's friend Shamey. That she hoped Sharney may know Sheena’s situation. Sharney advised her that
the male caller may be named ‘Ron’.

OFFICER SIGNATURE SUPERVISOR SIGNATURE SUBSCRIBED &SWORN BEFORE ME: NOTARY,
Muihern, Emest P. THIS DAY OF YR.

Report # 1100039150 - 00057326 Cont.

*)

Report #: 1100039150 - 00057326

Case 3:14-cr- -Q0160- JBA Document 107-3 Eiled 02/26/16 Page 9 of 11 Page 2 of 2
Greenwich Police Department

11 Bruce Place, Greenwich CT 06830
(203) 622-8000 SUPPLEMENTARY |

CASE/INCIDENT REPORT

A voicemail message was left with Sharney to contact this department.

Marie Dume described her daughter as approximately 5 feet 5 inches with light brown skin, shoulder length black hair, and brown eyes. That she
does not know what she was last wearing.

Dispatcher Cavalleiro entered Sheena Dume into NCIC as a File 06 Missing Person. COLLECT message #1253255 at 0518 hours. Dispatcher
Cavalleiro faxed an Exigent Circumstance Request Form to T-Mobile at 0445 hours. T-Mobile responded and advised that Sheena's cell phone
was located in the vicinity of Christy Hill Road and Glenville Road in Stamford, however, they could not give an exact address/location.

A flyer will be developed and disseminated to this department as well as surrounding agencies. A note to patrol will be sent.

OFFICER SIGNATURE
Mulhem, Emest P.

SUPERVISOR SIGNATURE

SUBSCRIBED &SWORN BEFORE ME: NOTARY.

THIS DAY OF YR.

Case 3:14-cr-00160-JBA Document 107-3 Filed 02/26/16 Page 10 of 11
Poe, Greenwich Police Department Page 1 af2

Run Time: 19:22
11 Bruce Place, Greenwich CT 06830
(203) 622-8600 SUPPLEMENTARY | Xx
CASE/INCIDENT REPORT
CFS NO. DAY] INCIDENT DATE | TIME 70 T F RPT) TYPE OF INCIDENT INCIDENT CD INVESTIGATING OFFICER [BADGE NO
1100038150 4 |_ 08/31/2011 | 04:01 | ogsti2011 | 14:07 _— [MISSING PERSON 370 | Detective 100691
Th 08/31/2011 __ Manning, James T.
DIVISION DIVISION NO. REFERENCE DIVISION REFERENCE DIVISION NO JCASE REFERENCE UNIT ID TYPIST [DATE TYPED
M46 MANNING | 08/31/2011 | 14:07
TREET NO. [STREET NAME AND TYPE APARTMENT NOT LOCATION [NTERSECTING STREET NAMEAND TYPE STarus _| TOWNCD

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00078 =| Oak Ridge St Greenwich
STATUS CODE C=COMPLAINANT V=VICTIM AsARRESTEE J=JUVENILE H=OTHER M=MISSING W=WITNESS O=OFFENDER D=DRIVER S=SUSPECT P=POLICE OFFICER T=TOT
STATUS [NAME [SEXTRACE] D.o.B. | TELEPHONE ADDRESS JOP STATE & NO.

IH [T-Mobile Law Enforcement Relationg —_| | 222 | (973)292- 8911 } Syivan Way Parsippany NJ

August 31, 2011

The undersigned made several attempts to contact Sheena Dume on her cell phone and met with negative results as the mailbox was full on her
phone.

The undersigned contacted her family members who could provide no further information.

The undersigned contacted T-Mobile Law Enforcement relations regarding the location of Sheena Dume cellphone. The undersigned completed
an Exigent Circumstances Request form and returned it to T-Mobile via fax. T-Mobile later advised that Dume's last cellular phone activity was at
0715hrs in Stamford, CT, in the area of Cortland Ave and Hamilton Ave. T-Mobile forms and inquiry returns are attached.

The undersigned was contacted at 1100hrs by Sheena Dume via her cellualar phone and she related that she is in Stamford, CT babysitting. The
undersigned heard several children in the background.

Sheena related that her mother overreacted and probably doesn't know that she would be babysitting today.
Sheena related that no one in the past several days has made any threats to her nor does she believe that she is or was in any eminant danger.

The undersigned contacted Marie Dume, Sheena’s mother, who was advised that her daughter is okay and well and working as a babysitter in
Stamford. Marie was satisfied with the outcome.

OFFICER SIGNATURE SUPERVISOR SIGNATURE SUBSCRIBED &SWORN BEFORE ME: NOTARY.
Manning, James T. THIS DAY OF YR.

Case 3:14-cr-00160-JBA Document 107-3 Filed 02/26/16 Page 11 of 11

IR - 1100038150 - 00057804 Cont.
‘ero ron nv Greenwich Police Department Page 2 0f2
ime: 19: 11 Bruce Place, Greenwich CT 06830
(203) 622-8000 SUPPLEMENTARY [x]

CASE/INCIDENT REPORT
Missing Person Cancel entry made into NCIC at 1419hrs by C/O Wilson. Message #1253933. Printout attached.

OFFICER SIGNATURE SUPERVISOR SIGNATURE SUBSCRIBED &SWORN BEFORE ME: NOTARY.
Manning, James T.

THIS. DAY OF YR.

